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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA               :
                                       :      Docket No. 1:21-CR-00151-CKK
               v.                      :
                                       :      (Judge Colleen Kollar-Kotelly)
BARTON SHIVELY                         :
                                       :      (Filed Electronically)

    UNOPPOSED MOTION TO MODIFY CONDITIONS OF RELEASE

      AND NOW, this 23rd day of April, 2021, comes Defendant Barton Shively,

by and through his attorney Terrence J. McGowan, Esquire, and respectfully

requests that this Honorable Court grant a request to modify Defendant’s Pre-Trial

Supervision conditions in the above-captioned matter, and in further avers the

following:

      1.       Defendant, Barton Shively, was charged via Criminal Complaint on

January 19, 2021 with the following: Aiding and Abetting, in violation of 18

U.S.C. § 2; Civil Disorder, in violation of 18 U.S.C. § 231(a)(3); Forcibly assault,

resist, oppose, impede, intimidate, or interfere with any officer or employee of the

United States or of any agency in any branch of the United States Government
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while engaged in or on account of the performance of official duties, in violation of

18 U.S.C. § 111(a)(1) and (2); Restricted Building or Grounds, in violation of 18

U.S.C. § 1752(a)(1), (2), and (4); and, Violent Entry Obstruct or Impede Passage,

Engage in Physical Violence on Grounds or any of the Capitol Buildings, in

violation of 40 U.S.C. § 5104(e)(2)(D), (E) and (F). (Doc. 1).

      2.       On February 24, 2021, an Indictment was filed charging Mr. Shively

with the following: Count 1 - Civil Disorder, in violation of 18 U.S.C. § 231(a)(3);

Counts 2 - 4 - Assaulting, Resisting, or Impeding Certain Officers, in violation of

18 U.S.C. § 111(a)(1); Count 5 - Entering and Remaining in a Restricted

Building or Grounds, in violation of 18 U.S.C. § 1752(a)(1); Count 6 – Disorderly

and Disruptive Conduct in a Restricted Building or Grounds, in violation of 18

U.S.C. § 1752(a)(2); Count 7 - Impeding Ingress and Egress in a Restricted

Building or Grounds, in violation of 18 U.S.C. § 1752(a)(3); Count 8 – Engaging

in Physical Violence in Restricted Building or Grounds, in violation of 18 U.S.C.

§ 1752(a)(4); Count 9 – Disorderly Conduct in a Capitol Building, in violation of

18 U.S.C. § 5104(e)(2)(D); Count 10 – Impeding Passage Through the Capitol

Grounds or Building, in violation of 18 U.S.C. § 5104(e)(2)(E); Count 11 – Act of

Physical Violence in the Capitol Grounds or Buildings, in violation of 18 U.S.C. §

5104(e)(2)(F).




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      3.       On January 19, 2021, a Detention hearing was held before the

Honorable Magistrate District Judge Martin C. Carlson in the United States

District Court for the Middle District of Pennsylvania.

      4.       Magistrate Judge Carlson ordered that Mr. Shively be detained to

home confinement and set numerous other conditions.

      5.       On March 12, 2021, Mr. Shively appeared before the Honorable

Magistrate Judge Zia M. Faruqui with he United States District Court for the

District of Columbia.

      6.       At that time, Magistrate Judge Faruqui set Mr. Shivley’s Conditions

of Release. (Doc. 14).

      7.       As part of his Conditions of Release, Mr. Shively is ordered to home

detention and his travel is restricted to the Middle District of Pennsylvania.

      8.       Mr. Shively’s Conditions of Release also specifies that, for purposes

of home confinement, Mr. Shively’s residence includes “yard for walking dog.”

      9.       Mr. Shively travels for work, and sometimes that travel includes areas

within Pennsylvania, but outside of the Middle District.

      10.      Accordingly, Mr. Shively respectfully requests that his travel

restrictions be modified to include the Western District of Pennsylvania and the

Eastern District of Pennsylvania.




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      11.    Moreover, there appears to be clarification required for the meaning

of “residence” for home confinement purposes.

      12.    Mr. Shively owns two (2) dogs, and he lives alone on a small lot

within a residential community.

      13.    Pursuant to his Conditions of Release, Mr. Shively’s residence

“includes yard for walking dog.”

      14.    Currently, he is required by Pre-Trial Services to provide a specific

time for walking his dogs within the perimeters of his property.

      15.    Because Mr. Shively cannot control his dogs’ schedule for relieving

themselves, he respectfully requests permission to be able to have unlimited access

to all areas of his property during his home confinement, at whatever time of day.

      16.    Accordingly, Mr. Shively is respectfully requesting that his conditions

be modified to permit him to travel within the Eastern District of Pennsylvania and

the Western District of Pennsylvania, and that he shall have access to his entire

property, inside and outside, during his home detention at whatever time of day.

      17.    Assistant United States Attorney, Emory Cole, Esquire, has no

objection to this request.

      WHEREFORE, it is respectfully requested that Defendant, Barton

Shively’s Pre-Trial Supervision conditions be modified to permit him to travel

within the Eastern District of Pennsylvania and the Western District of


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Pennsylvania, and that he shall have access to his entire property, inside and

outside, during his home detention at whatever time of day.


                                       Respectfully submitted,


April 23, 2021                         _/s/ Terrence J. McGowan_________
                                       Terrence J. McGowan, Esquire
                                       Attorney I.D. #39129
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BARTON SHIVELY                       :
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                     CERTIFICATE OF CONCURRENCE

      Undersigned Counsel, through his Associate Sarah M. Lockwood, Esquire,

contacted Assistant United States Attorney Emory Cole and he has no objection to

the granting of this Motion.




                                     Respectfully submitted,




April 23, 2021                       _/s/ Terrence J. McGowan_________
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                         CERTIFICATE OF SERVICE


      I hereby certify that I am this day serving a copy of the foregoing document

upon the person indicated below via electronic filing:

      Emory Cole, Esquire
      Office of the United States Attorney
      555 Fourth Street, NW
      Washington, D.C. 20530
      Emory.cole@usdoj.gov




April 23, 2021                        _/s/ Terrence J. McGowan_________
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